  Case 17-23600-JNP            Doc 42      Filed 03/20/20 Entered 03/20/20 12:06:48               Desc Main
                                           Document     Page 1 of 1
UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY

Caption in Compliance with D.N.J. LBR 9004-1(b)

ISABEL C. BALBOA
CHAPTER 13 STANDING TRUSTEE
CHERRY TREE CORPORATE CENTER
535 ROUTE 38, SUITE 580
CHERRY HILL, NJ 08002




                                                                         Case No.:       17-23600
In Re:
                                                                         Chapter:        13

David J. Thomas                                                            Judge:        JNP




                                NOTICE DEPOSITING UNCLAIMED FUNDS
                                   PURSUANT TO D.N.J. LBR 3011-1(a)
  ISABEL C. BALBOA, Trustee in the above captioned matter states that the entire amount in Isabel C.
  Balboa the trustee’s account has been disbursed and that the following funds remain unclaimed. The
  undersigned will immediately forward a check to the court in the amount of $20.64 payable to the Clerk,
  United States Bankruptcy Court. The parties entitled to said funds are listed below together with their last
  known address.

                                PAYEE NAME AND                                            AMOUNT
                                   ADDRESS


         David J. Thomas                                                         $4830.54

         472 Richards Road
         Bridgeton, NJ 08302




  Date: March 20, 2020                                                   /s/ Isabel C. Balboa, Trustee

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